Case 2:05-cr-20226-.]PI\/| Document 14 Filed 07/28/05 Page 1 of 2 Page|D 16

D.c.
lN THE UNrrED sTATEs DISTRICT COURT F“£° B"' " -

FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUL 28 m \\= 21

 

 

 

 

 

WESTERN DIVISION
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UNITED STATES OF AMERICA W@ {)§; `§t»; ’;~,r:-.,i’?l‘\l$
V. 05-20226-Ml
ARGUESS BAKER
ORDER ON ARRAIGNMENT

This cause came to be heard on 07 vt l - 05 , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:
NAME FLW\ G)AU (alJLL who is Retained/Appointed.

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

g .Tmrw //AML_,

UNITED STATES MAGISTRATE JUDGE

 

CHARGES: 18:922(g);
U. S. Attorney assigned to Case: S. Hall

Age: o?[_p

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UNITED sTATE DRISTIC COUR - WTERN D's'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy ofthe document docketed as number l4 in
case 2:05-CR-20226 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

.l uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

